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AO 93 (Rev. 11/13) Search and Seizure Warrant                                     AUSA R. Matthew HiIIer, (312) 697-4088


                            UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

                                                                  UNDER SEAL
In the Matter of the Search of:
The  Thitter accounts @AhkTheBlackAra.b located at                Case Number:
www.twitter.com/ahktheblackarab, @AbuFarriss
Iocated at www.twitter.com/abufarriss, and                                                14 ls tr47i{
@abothabetk located at www.twitter.com/abothabetk,
further described in Attachment A                                                          lqrnSql
                                     SEARCH AND SEIZURE WARRANT

To: John P. Fariey and any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search of
the following person or property located in the Northern District of California:
                                                 See Attachrnent A

         Ifind that the affid.avit(s), or any recorded testimony, establish probable cause to search and seize the
person or property described above, and that such search will reveal:


                                                See   Attachrnent A, Part   III

        YOU ARE HEREBY COMMANDED to execute this warrant on or before October 28. 2014 in the daytime
(6:00 a.m. to 10:00 p.m.).

        Unless d.elayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
the place where the property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare
                                                                                                     agistrate Judge




Date and time issued:
                                                                                        Judge's signature

City and State: Chinaoo Tllinois                                  MARIA VALDEZ, U.S. Maeistrate Judse
                                                                               Printed name and title
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AO 93   (Rev.'ll/I3)   Search and Serizr:re War=rrn! (Page 2)

                                                                    Return
 Casc Ne;                  Date s.ud rl\ime Warrant Executrsd:            Copy of Warrant and. Inveurory Left With:

ItH 511                       ioliqlnq          /6Dc hr*                            6r-172         Le<-   /
 Inventory made in the p'res'ence of:
        A'q"Lh4rt
 -lnveutbry                    Tw,tler Le.r"l Re4n,pr
              of the property taken and name of any person(s) seized':

         -f,rJ,Y+"r ' prdur d{c[                        a       C   D     t^r/+[^     Dc,.tc- Se.nf
   +o ftsf Ch, uTo C>\t,.e, '!h,s LD qras Se,r[
   Vrx ftS0il /totr, fl*oy' tr.Lrnno|,,'' 6vfia'taecl on' *l*
        D,sL /s cL)rre.Al ct5 J                                     P   ltb lzottl.




                                                                                      w#"#,i;
                                                                                               *w,ffi,

                                                                Certifrcation
       I declare und.er penalty of perjury that this inventory is correct and was returned along with the original
warraut to the dee.iguated judge.




 EAlra       =9vd
                                                                                           VTZ96Z8ZIT,T       ZTigl   VIAZ/LAITI
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                               ATTACHMENT A

I.       Search Procedure

         a.   The search warrant will be presented to Twitter personnel, who

will be directed to isolate those accounts and files described in Section II
below.

       b.     In order to minimize any disruption of computer service to
innocent third parties, company employees and/or law enforcement personnel

trained in the operation of computers will create an exact duplicate of the

computer accounts and files described in Section     II   below, including an exact

duplicate of    all information stored in the computer         accounts and fiIes

described therein.

       c.     Twitter employees will provide the exact duplicate in electronic

form of the accounts and files described in Section II below and all
information stored in those accounts and files to the agent who serves the

search warrant.

       d.     Following the protocol set out in the Addendum to this

Attachment, law enforcement personnel wiII thereafter review information

and records received from company employees to locate the information to be

seized by law enforcement personnel specified     in Section III below.
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II.     Files and Accounts to be Copied by Twitter Employees

        Information related to the following electronic address:

 @AhkTheBlackArab located at www.twitter.com/ahktheblackarab;

         @AbuFarriss located at www.twitter.com/abufaruiss; and

             @ab othab   e   tk   lo cate   d at   ww   w.tw itte r. com/ab othab etk.

which is stored at premises owned, maintained, controlled, or operated by

Twitter, located at 1355 Market Street, Suite 900, San tr'rancisco, California

94103, including:

        a.     All identity and contact information, including fuII name, email
address, physical address (including city, state, and zip code), date of birth,

gender, hometown, occupation, and other personal identifiers;

        b.     A1I past and current usernames, account passwords, and names

associated with the account;

        c.     The dates and times at which the account and profile were

created., and the   Internet Protocol (IP) address at the time of sign up;

        d.     AIl IP logs and other documents showing the IF                   ad.dress, date,

and time of each login to the account;

        e.     AII data and information associated with the profile                      page,

including photographs, "bios," and profile backgrounds and themes;
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        f.    A11 Tweets     and Direct Messages sent, received, favorited, or

,"t*"ttud by the account, and all photographs or images includ.ed in those
Tweets and Direct Messages;

        g.    AII information from the "Connect" tab for the account, including

all lists of Twitter users who have favorited or retweeted Tweets posted by

the account, as weII as a Iist of all Tweets that include the             username

associated   with the account (i.e., mentions or replies);

        h.    AII photographs and images in the user gallery for the account;

        i.    AII location data associated with the          account, including all

information collected by the "Tweet With Location" service;

        j.    AIl information about the account's use of Twitter's link service,

including all longer website links that were shortened by the service, all

resulting shortened links, and all information about the number of times that

a   link posted by the account was clicked;

        k.    A11   data and information that has been deleted by the user;

        1.    A list of all of the people that the user follows on Twitter and aII

people who aye following          the user (i.e., the user's "following" list      and

"followers" list);

        m.    A list of all users that the account has "unfollowed" or blocked;

        n.    A11   "lists" created by the account;
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      o.     AlI information on the "Who to F'ollow" list for the account;

      p.     AII privacy and account settings;

      q. AIl       records   of Twitter searches performed by the        account,

including aII past searches saved by the account;

      r.     A11   information about connections between the account and third

party websites and applications;

      s.     AIl records pertaining to communications between Twitter            and

any person regarding the user or the user's Twitter account, including

contacts with support services, and     all records of actions taken, including
suspensions of the account.

      t.     AII business records and subscriber information, in any form;
including applications, subscribers' full names, all screen names associated

with the subscribers and/or accounts, all account names associated with the

subscribers, methods of payment, telephone numbers, addresses, and detailed

billing records.

nII" Inforrnation to be Seized by tr aw Enf,oreernent        Personnel

      a. AII information described above in Section II that constitutes
evidence and instrumentalities concerning violations        of Tit1e 18, United
States Code, Section 2339B(a)(1), including:



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             1.    Items relating to Ahki    Al Athari, Abu Farriss, or Abu
Thabit ,Ll-Jazrawi and the users of Subject Accounts 15A-17A.

             2.    Items relating to the usernames @AhkTheBlackArab,
@AbuF arriss, and @abothabetk.

             3.    Items relating to a caliphate, Syria, Iraq, al-Qaeda, sl-

Qaeda   in Iraq ("AQI"), Islamic State of Iraq and Syria ("ISIS"), Islamic State

of Iraq and the Levant ("ISILi'), the Islamic State, Dawlah, and Abu Bakr al-

Baghdadi, or other known members of ISIL.

             4.    Items relating to communication devices or techniques,

including the use of Internet service providers, mobile or cellular phones.

             5.    Items relating to travel, including travel        documents,

passport information, visas, and methods of travel into or through Turkey,

Syria or Iraq.

            6.     Items relating to the identities and current and past
physical location   of the users of Subject Accounts 15A-17A or                 the

individuals they are communicating with.

             7.    Items relating to weapons, attacking planning, beheadings,

executions, or other unlawful acts of violence.

            B.     Items relating to the names, addresses, telephone numbers,

email addresses, and other contact or identification information of
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participants involved in violations of Title 18, United States Code, Section

233eB(a)(1).

               9.   A1l of the records and information described   in   Section   II
(a) throush (t).




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                       ADDENDUM TO ATTACHMENT A

      With respect to the search of any information and records received from

the web-hosting company, law enforcement personnel will locate the
information to be seized pursuant to Section    III   of Attachment A according to

the following protocol.

      The search procedure may include the following techniques                 (the

following   is a    non-exclusive   list, and the     government may use other

procedures that, Iike those listed below, minimize the review of information

not within the list of items to be seized as set forth herein):

            a.       searching for and attempting      to recover any hidden, or
encrypted data to determine whether that data falls within the list of items to

be seized as set   forth herein.

            b.       surveying various file directories and the electronic mai1,

including attachments thereto to determine whether they include data falling

within the list of items to be seized as set forth herein.

            c.       opening or reading portions of electronic mail, and
attachments thereto, in order to determine whether their contents fall within

the items to be seized as set forth herein, and/or

            d.      performing key word searches through all electronic mail

and attachments thereto, to determine whether occurrences of language
                                         7
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contained   in such electronic mail, and attachments thereto, exist that are
Iikely to appear in the information to be seized described in Section       III   of

Attachment A.

      Law enforcement personnel are not authorized to conduct additional

searches on any information beyond the scope of the items to be seized by this

warrant.




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